     Case 3:20-cv-00754-JAH-BLM Document 3 Filed 04/22/20 PageID.47 Page 1 of 2



1

2

3

4

5

6

7

8                                  UNITED STATES DISTRICT COURT

9                                SOUTHERN DISTRICT OF CALIFORNIA

10
                                                            Case No.: 20cv754-JAH(BLM)
11   ABANTE ROOTER AND PLUMBING, INC.,

12                                          Plaintiff       ORDER SETTING BRIEFING SCHEDULE

13   v.

14   TRIUMPH MERCHANT SOLUTIONS, LLC,

15                                      Defendant.
16

17         On April 21, 2020, Plaintiff filed a Motion to Compel Compliance with Subpoenas and for
18   Order to Show Cause Why Triumph Merchant Solutions, LLC Should Not Be Held in Contempt.
19   ECF No. 1. No party other than Plaintiff has made an appearance and, therefore, no other party
20   will be notified of the filing of this Order via the CM/ECF system. See Docket. Accordingly, on
21   or before April 30, 2020, Plaintiff must serve a copy this Order on Triumph Merchant Solutions,
22   LLC.1 Additionally, the Court orders the following:
23

24
     1
       The Court understands from the motion that Plaintiff has already served the motion on the
25   Defendant. See ECF No. 1-4 (Certificate of Service stating that the motion was served on April
26   21, 2020 “by first-class U.S. Mail, postage prepaid, and properly addressed to the following
     party: Triumph Merchant Solutions, LLC Brandon M. Smith, Registered Agent 105 W. F St, 3rd
27   Floor San Diego, California 92101.”). Id. If however, the Court’s understanding is incorrect,
     Plaintiff must also serve the motion on Defendant Triumph Merchant Solutions, LLC by April
28   30, 2020.

                                                        1
                                                                                    20CV754-JAH(BLM)
     Case 3:20-cv-00754-JAH-BLM Document 3 Filed 04/22/20 PageID.48 Page 2 of 2



1          1.     Any opposition to the motion must be filed on or before May 22, 2020.

2          2.     Any reply must be filed on or before June 12, 2020.

3    Upon completion of the briefing, the Court will take the matter under submission pursuant to

4    Civil Local Rule 7.1(d)(1) and no personal appearances will be required.

5          IT IS SO ORDERED.

6    Dated: 4/22/2020

7

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                    2
                                                                                 20CV754-JAH(BLM)
